Case 5:16-cv-00914-F

JS 44 (Rev. 11/15)

provided by
purpose o

y local rules of court. This form, approved by the Judicial Con
initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

Document 1-1

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither ae nor supplement the filing and service of pleadings or other papers as required by law, except as
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Filed 08/09/16

Page 1 of 1

nited States in September 1974, is required for the use of the Clerk of Court for the

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QUE "ROCKY" DE LA FUENTA, (2) JILL STEIN, (3) JONI ALANE

LEVINESS, (4) MAIGAN UNDERWOOD, and (5) RACHEL C.

JACKSON,

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Te
James C. Linger, OBA#5441 - 1710

74119-4810; (918) 585-2797

Jephone Number,

)
outh Boston Ave., Tulsa, OK

NOTE:

Attorneys (if Known)

County of Residence of First Listed Defendant

(1) PAUL ZIRIAX, Secretary of the Oklahoma State Election Board;
and (2) the Oklahoma State Election Board,

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Oklahoma Attorney General - 313 Northeast 21st Street, Oklahoma
City, OK 73105; (405) 521-3921

If. BASIS OF JURISDICTION (Place an "X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 23 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 © 1 Incorporated or Principal Place o4 oO4
of Business In This State
O 2 U.S. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place oO5 o5
Defendant (Indicate Citizenship of Parties in {tem [i) of Business In Another State
Citizen or Subject of a oO3 O 3. Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
Lo CONTRACT : : TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
O 110 Insurance PERSONAL INJURY PERSONALINJURY |© 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
O 120 Marine © 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability O 367 Health Care/ O 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPE RI O 410 Antitrust
& Enfor of Jud, Slander Personal Injury O 820 Copyrights O 430 Banks and Banking
O ISI Medicare Act 0 330 Federal Employers’ Product Liability D 830 Patent O 450 Commerce
1 152 Recovery of Defaulted Liability O 368 Asbestos Personal 0 840 Trademark O 460 Deportation
Student Loans 0 340 Marine Injury Product O #470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability = LABOR SC RITY Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0 710 Fair Labor Standards 0 861 HIA (1395f) O 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle C370 Other Fraud Act 0 862 Black Lung (923) O 490 Cable/Sat TV
© 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 850 Securities/Commodities!
190 Other Contract Product Liability O 380 Other Personal Relations 0 864 SSID Title XVI Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) © 890 Other Statutory Actions
0 196 Franchise Injury O 385 Property Damage O 751 Family and Medical O 891 Agricultural Acts
©) 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matters
Medical Malpractice 0 790 Other Labor Litigation © 895 Freedom of Information
[ ‘REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 791 Employee Retirement FEDERAL TAX SUITS __ Act
© 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Income Security Act © 870 Taxes (U.S. Plaintiff © 896 Arbitration
© 220 Foreclosure 441 Voting O 463 Alien Detainee or Defendant) © 899 Administrative Procedure
0 230 Rent Lease & Ejectment O 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
0 245 Tort Product Liability Accommodations 530 General © 950 Constitutionality of
© 290 All Other Real Property O 445 Amer. w/Disabilities -|( 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 7 462 Naturalization Application
© 446 Amer. w/Disabilities -] 540 Mandamus & Other [0 465 Other Immigration
Other 0 550 Civil Rights Actions

© 448 Education

© 555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an "X" in One Box Only)

M1 Original O2 Removed from O 3° Remanded from 4 Reinstatedor © 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
(specify)
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
under 42 USC sec. 198 challenging the BSnetitutionalty under: the 1st 44ih amendments to the

VI. CAUSE OF ACTION

US Cons

Brief description of cai
{tuUtON Oo

fOkla. Stat. tit. 26, Sec. 5-112,10-101.1, and 10-101.2

VII REQUESTED IN
COMPLAINT:

Cl CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

Yes PLNo

VII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE Stephen P. Friot DOCKET NUMBER CIV-16-0583-F
DATE SIGNATURE OF ATTORNEY OF RECORD
08/09/2016 s/ James C. Linger

“FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE

